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     AT&T MOBILITY LLC and AT&T MOBILITY II LLC
15
                           UNITED STATES DISTRICT COURT
16
                          CENTRAL DISTRICT OF CALIFORNIA
17
     ENOVSYS LLC,                           Case No.: 2:11-CV-05210-SS
18
                                            DEFENDANTS’ OBJECTIONS AND
                      Plaintiff,            COUNTER DESIGNATIONS TO
19
           vs.                              PLAINTIFFS COUNTER
20                                          DESIGNATIONS OF DR. ROY
     AT&T MOBILITY LLC and AT&T             WANT’S DEPOSITION
21   MOBILITY II LLC,                       TESTIMONY FOR TRIAL
                                            PROCEEDINGS ON AUGUST 20,
22                    Defendants.           2015

23   AT&T MOBILITY LLC and AT&T
     MOBILITY II LLC,                       Honorable Mag. Judge Suzanne H. Segal
24                                          Trial Date: August 18, 2015
                      Counterclaimants,     Trial Time: 8:30 AM
25
           vs.
26
     ENOVSYS LLC,
27
                      Counterdefendant.
28
     DEFS’ OBJECTIONS AND COUNTER-
     DESIGNATIONS TO PLTF’S COUNTER                              CASE NO. 2:11-CV-05210-SS
     DESIGNATION OF DR. ROY WANT
Case 2:11-cv-05210-SS Document 620 Filed 08/19/15 Page 2 of 9 Page ID #:35280



 1         Defendants AT&T Mobility LLC and AT&T Mobility II LLC (collectively
 2   “AT&T”) hereby submits its objections and counter designations to Plaintiff’s
 3   counter designations to Dr. Roy Want’s deposition testimony disclosed August 19,
 4   2015. (D.I. 618).
 5

 6    I.   Roy Want
 7                  AT&T provides the following counter designations to the following
 8   excerpts counter designated by Enovsys from Roy Want’s July 22, 2013 deposition
 9   transcript for presentation by video:
10

11
            AT&T’s Designations          Enovsys’ Objections       Enovsys’ Counter-
12
                                                                      Designations
13
           5:16-21
14
           6:20-22
15
           7:20-8:16                                              8:16-22
16
           9:13-16
17
           10:8-18
18
           10:19-22
19
           11:8-14
20
           12:13-24
21
           17:14-23
22
           21:2-16
23
           30:8-22
24
           57:16-58:14
25
           58:23-61:24
26
           62:6-64:21
27
           66:2-6
28
     DEFS’ OBJECTIONS AND COUNTER-
     DESIGNATIONS TO PLTF’S COUNTER          1                        CASE NO. 2:11-CV-05210-SS
     DESIGNATION OF DR. ROY WANT
Case 2:11-cv-05210-SS Document 620 Filed 08/19/15 Page 3 of 9 Page ID #:35281



 1
            AT&T’s Designations       Enovsys’ Objections     Enovsys’ Counter-
 2
                                                                   Designations
 3
           67:1-3                                            67:4-7
 4
           68:7-73:7                                         67:4-68:6
 5
           73:14-16                                          73:17-25
 6
           74:1-19                                           74:20-75:5
 7
           75:15-20                                          75:21-76:12
 8
           77:04-77:18
 9
           77:19-78:8
10
           78:9-78:25
11
           80:21-84:7
12
           84:8-11                                           84:12-17
13
           84:18-85:16                                       84:12-17
14
           85:19-86:11                                       86:22-87:1
15
           87:9-88:14
16
           90:16-23                   Irrelevant (FED. R.
17
                                      EVID. 402), unfairly
18
                                      prejudicial (FED. R.
19
                                      EVID. 403)
20

21
           91:11-92:14                                       92:15

22
                                                             [ATT counter

23
                                                             designation for

24
                                                             completeness: 92:16-

25
                                                             20]

26
           92:21-93:10                                       93:11-14

27         97:25-98:13

28         99:7-13
     DEFS’ OBJECTIONS AND COUNTER-
     DESIGNATIONS TO PLTF’S COUNTER      2                         CASE NO. 2:11-CV-05210-SS
     DESIGNATION OF DR. ROY WANT
Case 2:11-cv-05210-SS Document 620 Filed 08/19/15 Page 4 of 9 Page ID #:35282



 1
            AT&T’s Designations       Enovsys’ Objections     Enovsys’ Counter-
 2
                                                                 Designations
 3
           99:20-100:14                                      100:15-18
 4
           102:11-20
 5
           102:21-22
 6
           102:23-103:1
 7
           103:2-13
 8
           145:5-10
 9
           145:12-16                                         145:17-19
10
           148:1-149:10
11
           149:21-150:5
12
           150:17-151:9
13
           151:11-152:19                                     152:20-153:1
14
           161:12-14
15
           161:18-21
16
           162:2-5
17

18
           163:13-25

19
           166:13-167:10

20         171:13-172:2                                      172:2-6

21         172:7-173:11

22         173:12-174:17

23         175:17-18                  Hearsay (FED. R.

24                                    EVID. 802)

25         175:22-176:6
26         178:8-179:9                                       179:10-17
27         180:1
28         180:2
     DEFS’ OBJECTIONS AND COUNTER-
     DESIGNATIONS TO PLTF’S COUNTER      3                      CASE NO. 2:11-CV-05210-SS
     DESIGNATION OF DR. ROY WANT
Case 2:11-cv-05210-SS Document 620 Filed 08/19/15 Page 5 of 9 Page ID #:35283



 1
            AT&T’s Designations       Enovsys’ Objections     Enovsys’ Counter-
 2
                                                                 Designations
 3
           180:3-181:15
 4
           181:19-22
 5
           181:25-182:4
 6
           182:20-24
 7
           183:9-11
 8
           183:13-185:5
 9
           191:2-4                    Hearsay (FED. R.
10
                                      EVID. 802)
11
           191:8-22
12
           192:13-15
13
           193:7-195:17
14
           195:21-196:2                                      196:2-4
15
           197:11-17
16
           198:16-201:22
17
           205:16-206:1
18

19
           208:15-19

20
           211:7-22

21         212:7-15

22         213:11-13

23         213:17-22                                         213:23-214:2

24         214:3-215:3

25         215:9-24
26         217:10-18
27

28
     DEFS’ OBJECTIONS AND COUNTER-
     DESIGNATIONS TO PLTF’S COUNTER      4                      CASE NO. 2:11-CV-05210-SS
     DESIGNATION OF DR. ROY WANT
Case 2:11-cv-05210-SS Document 620 Filed 08/19/15 Page 6 of 9 Page ID #:35284



 1
            AT&T’s Designations          Enovsys’ Objections     Enovsys’ Counter-
 2
                                                                    Designations
 3
           272:6-273:2                   Irrelevant (FED. R.
 4
                                         EVID. 402), unfairly
 5
                                         prejudicial (FED. R.
 6
                                         EVID. 403), improper
 7
                                         lay opinion (FED. R.
 8
                                         EVID. 802), hearsay
 9
                                         (FED. R. EVID. 802)
10

11
                  AT&T further makes the following objections and counter designations
12
     to Enovsys’s general counter designations from Dr. Want’s July 22, 2013 deposition
13
     transcript for presentation by video:
14

15
              Enovsys’s General          AT&T’s Objections        AT&T’s Counter-
16
            Counter-Designations                                    Designations
17
        10:19-11:2
18
        11:8-14
19
        28:1-19                          Relevance (active
20
                                         badge hardware not
21
                                         at issue); 403 (waste
22
                                         of time)
23
        37:14-39:15                      Relevance (active
24
                                         badge hardware not
25
                                         at issue); 403 (waste
26
                                         of time)
27

28
     DEFS’ OBJECTIONS AND COUNTER-
     DESIGNATIONS TO PLTF’S COUNTER          5                      CASE NO. 2:11-CV-05210-SS
     DESIGNATION OF DR. ROY WANT
Case 2:11-cv-05210-SS Document 620 Filed 08/19/15 Page 7 of 9 Page ID #:35285



 1
              Enovsys’s General       AT&T’s Objections        AT&T’s Counter-
 2
            Counter-Designations                                 Designations
 3
        39:18-22                      Relevance (active
 4
                                      badge hardware not
 5
                                      at issue); 403 (waste
 6
                                      of time)
 7
        39:23-40:22                   Relevance (active
 8
                                      badge hardware not
 9
                                      at issue); 403 (waste
10
                                      of time)
11
        41:21-42:14
12
        62:23-63:8
13
        64:22-25                                              64:25-65:5
14
        64:25-65:5
15
        67:1-10
16
        68:7-71:13
17
        74:1-75:2                                             75:2-5
18
        82:19-84:8
19
        84:24-85:10
20
        86:2-11
21
        87:9-17
22
        90:6-15
23

24
        91:11-19

25
        93:15-25

26      95:5-96:19

27      103:20-104:5                                          104:6-14

28
     DEFS’ OBJECTIONS AND COUNTER-
     DESIGNATIONS TO PLTF’S COUNTER      6                       CASE NO. 2:11-CV-05210-SS
     DESIGNATION OF DR. ROY WANT
Case 2:11-cv-05210-SS Document 620 Filed 08/19/15 Page 8 of 9 Page ID #:35286



 1
              Enovsys’s General       AT&T’s Objections        AT&T’s Counter-
 2
            Counter-Designations                                 Designations
 3
        133:13-134:5                  Relevance (active
 4
                                      badge hardware not
 5
                                      at issue); 403 (waste
 6
                                      of time)
 7
        134:8-135:8                   Relevance (active
 8
                                      badge hardware not
 9
                                      at issue); 403 (waste
10
                                      of time)
11
        168:16-21                                             168:4-15; 168:22-
12
                                                              168:14
13
        172:9-173:21
14
        215:25-216:7
15
        230:12-19                                             230:20-25
16
        231:1-19
17
        233:7-234:4
18
        234:7-15
19
        234:17-22                                             234:22-23
20
        235:6-9
21
        236:8-237:21
22
        240:1-4                                               239:16-25
23
        248:3-10                                              247:25-249:2
24

25
        248:16-18                                             247:25-249:2

26
        248:22-249:2                                          247:25-249:2

27      249:4-6

28      249:8-18                                              249:19-21
     DEFS’ OBJECTIONS AND COUNTER-
     DESIGNATIONS TO PLTF’S COUNTER      7                       CASE NO. 2:11-CV-05210-SS
     DESIGNATION OF DR. ROY WANT
Case 2:11-cv-05210-SS Document 620 Filed 08/19/15 Page 9 of 9 Page ID #:35287



 1
              Enovsys’s General       AT&T’s Objections         AT&T’s Counter-
 2
            Counter-Designations                                      Designations
 3
        250:3-8                                                250:11-21
 4
        251:3-25                                               252:8-25
 5
        253:10-20                                              253:2-8
 6
        254:16-21                                              253:21-254:15
 7
        255:13-16                                              252:16-254:15
 8
        257:24-259:1
 9
        260:19-261:21
10
        261:22-24                                              261:25-262:10
11
        265:15 -266:12
12
        273:8-274:23
13

14

15

16

17
                                            Respectfully submitted,

18
     DATED: August 19, 2015                 BAKER BOTTS L.L.P.

19
                                            /s/ Eliot D. Williams
                                            Eliot D. Williams
20
                                            Attorney for Defendants and
                                            Counterclaimants
21
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                                            MOBILITY II LLC
22

23

24

25

26

27

28
     DEFS’ OBJECTIONS AND COUNTER-
     DESIGNATIONS TO PLTF’S COUNTER     8                         CASE NO. 2:11-CV-05210-SS
     DESIGNATION OF DR. ROY WANT
